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 6                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8
   UNITED STATES OF AMERICA and STATE
 9 OF WASHINGTON, ex rel. JEANETTE
                                                           C20-1525 TSZ
   NYMAN,
10
                                  Plaintiffs,
11                                                         ORDER
                          v.
12
   DAIYA HEALTHCARE, PLLC,
13
                                  Defendant.
14
          The parties’ stipulated motion to dismiss, docket no. 29, is GRANTED, and it is hereby
15
   ORDERED as follows:
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          1.      As required by 31 U.S.C. § 3730(b)(1), the Attorney General of the United States,
17
   through counsel of record Assistant United States Attorney Matt Waldrop, is deemed to have
18
   consented to the dismissal of this matter, and having reviewed the Settlement Agreement, docket
19
   no. 27-1, among all parties to this case and the related matter, W.D. Wash. Case No. C22-565, the
20
   Court also consents to the dismissal;
21
          2.      All of the claims against defendant Daiya Healthcare, PLLC set forth in the
22
   Complaint are DISMISSED with prejudice to relator Jeanette Nyman, and with prejudice to
23


     ORDER - 1                                                            UNITED STATES ATTORNEY
     20-cv-1525-TSZ                                                      700 STEWART STREET, SUITE 5220
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
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 1 plaintiffs United States of America and the State of Washington to the extent of the “Covered

 2 Conduct,” as that term is defined in the Settlement Agreement executed by the parties as of

 3 October 28, 2024, docket no. 27-1, but otherwise without prejudice to the United States and the State

 4 of Washington; and

 5         3.      The Court retains jurisdiction to enforce the terms of the Settlement Agreement.

 6         DATED this 3rd day of January, 2025.

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                                                        A
 9                                                      Thomas S. Zilly
                                                        United States District Judge
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     ORDER - 2                                                             UNITED STATES ATTORNEY
     20-cv-1525-TSZ                                                       700 STEWART STREET, SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
